Case 5:17-cv-O4121-.]FL Document 1 Filed 09/14/17 Page 1 of 15
UNTTED STATES DISTRICT COURT

FOR THE EASTERN DIS‘I'RIC’|" OF PENNSYLVANIA _ DESIGNATION FORM to he used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Addms ofplaimim 1029 Primrose Lane, Coepersburg, PA 18036

 

2245 East 19th St. Booklyn . NY and 4301E,berly Avenue, Brookf`ieid Illinois, 60513.
Philadelphia , PA

Address ofDei`endant:

Place of Accident, bicident or Transaction:

 

(Use Reuerse Si`de F or Additt`onal .S'_noce)

 

Does this civil action involve a nongovemmental corporate party with any parent corporation and any publicly hold corporation owning lD% or more oi` its stock?

 

(Attaeh two copies oi` the Disclosure Stntement Form in accordance with ch.R,Civ.P. 'r'.l(a)) Yesl:| NoL-X
Does this case involve multidistrict litigation possibilities? YesD Nom
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Civil cases are deemed related when yes is answered to any ofthe following questions:

l. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this eourt?

Yesl:l Nom
2. Does this case involve thc same issue of factor grow out oi` the same transaction as a prior suit pending or within one year previously terminated
action in this court?

Yes|:l blow
3. Docs this case involve the validity er infringement of a patent already in suitor any earlier numbered case pending or within one year previously
terminated action in this court? Yesl:l Now

4. is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
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5, E Patent 5 51 Motor Vehicle Personal Injury
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All other Federal Question Cases
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ARBITRATION CERTIFICATION
(Check Approprtote Cafegory)
L lohn ]. Hafzell, ]1‘ , counsel of record do hereby ccrtify:

ljt Pursuant to Local Civil Rulc 53,2, Seetion 3(¢)(2], that to the best ot` my knowledge and beiief, thc damages recoverable in this civil action case exceed the sum of
$l50,000,00 exclusive of interest and coscs;

El Relicf`ether than monetary damages is sought.
DATE; 9'14'2017 ]ohn ]. Hatzell <W… 33548

Attomey-at-La\b\_d \ Attemey l.D.#
NOTE: A trial dc novo will be a trial by jury only ii` there has been compliance with F.R,C.P. 38.

 

l certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted ahove.

minn 9'14‘2017 ]ohn I. Hatze]l, Ir §§M/i,q 38548

 

Attorney-at-Law Attorney i.D.#
CIV_ 609 (5»"20 l 2)

Case 5:17-cv-O4121-.]FL Document 1 Filed 09/14/17 Page 2 of 15

isn uaw wm CIVIL COVER SHEET

The lS 44 civil cover sheet and the information contained herein neither re lace nor supplement the iilin and service of pleadings or other papers as reéuired by |aw, except as
provided I?l local rules of_eoi:rt_ Thls form, approved by the Judicial Con ererlce ofthe nited States in epteinber 1974, ls required for the use of the lerk o Court for the
purpose o initiating the civil docket sheet {SEE !NS“JRUCTJONS ON NL`XT PAGI:` OF TH!S t"ORM.}

 

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Case 5:17-cv-O4121-.]FL Document 1 Filed 09/14/17 Page 3 of 15

IN THE UNITED STATES DISTRICT COUR'I`
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MMUM
Mark Frawley CIVIL ACTION
v.

GP Trarisportation Co., Inc NO.

In accordance with the Civil Justice Expense and Delay Reductien Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § l :03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. _ ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. § )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos ( )

(e) Special Management ~ Cases that do not fall into tracks (a) through (d} that are
commonly referred to as complex and that need special or intense management by
the court (See reverse side of this form for a detailed explanation of special

 

 

 

management eases.) ( )
(f) Standard Management - Cases that do not fall into any one of the other tracks. ( )
9_ 14_2017 M;I:Z:ii:]r/\ Dumpl<isi'GP Transportationi' Povilunas
Date \Attorney-at-law` Attorney for
215 255 5411 215 933 3207 ioho.nooou@ne.oom
T_elephone FAX Number E-Mail Address

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IN THE UNITED STATES DISTRICT COURT
FOR TI-IE EASTERN DISTRICT OF PENNSYLVANIA

MARK FRAWLEY
v.

EDIKAS DUMPIS
and

GP TRANSPORTATION CO., INC.
and

GEDIMINAS POVILUNAS, t/a

GP TRANSPORT CO.
and

GP TRANSPORT CO.

 

NOTICE OF REMOVAL

Defendants, EDIKAS DUMPIS, GP TRANSPOR'I`ATION CO., INC.,
GERIMINAS POVILUNAS and GP TRANSPORT CO. hereby seek to remove this case
from the Court of Common Pleas of Philadelphia County, Civil Action No. 17080005 6 to
the United States District Court for the Eastern District of Pennsylvania, pursuant to 28
U.S.C.§§1332, 1441 and 1446. In support of the removal, the defendants aver:
l. Attached as Exhibit A is the complaint filed on behalf of the plaintiff on July 26,
201'? in the Court of Common Pleas of Philadelphia County on August 5, 2017.
2. The complaint was served upon Edikas Dumpas by certified mail on August 19,
2017 and upon GP Transportation Co., Inc. by certified mail on August 16, 2017.
3. GT Transport Co is a fictitious name and does not exist as an independent entity.
4. Geriminas Povilunas is the President and Secretary of GP Transportation Co., Inc.
5. Plaintiff, Mark Frawley, has alleged that he resides at 1029 Primrose Lane,

Coopersburg, PA 18036. Id at 1[ 1.

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6. Edikas Dumpis is a citizen ofNew York and he resides at 2245 East l9‘h Street,
Brooklyn, NY.

7. GP Transportation Co., Inc.is a privately held Illinois Corporation with principal
place of business located at 4301 Eberly Avenue, Brookiield, II 60513

8. Geriminas Povilunas is a citizen and resident of Illinois and he consents to the
removal of this matter to federal court.

9. The amount is controversy is believed to be in excess of 375,000 based upon the
allegations in the complaint

10. The Court has jurisdiction over this case because there is complete diversity of
citizenship and the amount in controversy exceeds $'75,000. 28 U.S.C. §1332 (a).

l 1. The alleged harm occurred at the intersection of Levick Street and Harbison
Avenue in Philadelphia, PA therefore the Eastern District of Pennsylvania is the proper
venue for this case. 28 U.S.C. §1441 (a).

12. Pursuant to 28 U.S.C. § 1446 (d) the defendants will file a copy of this Notice of
Removal with the Prothonctary of the Court of Common Pleas of Philadelphia County
and will serve a copy of same upon counsel for the plaintiff through the Court’s
electronic filing system

WHEREFORE, the above named defendants herby remove this action presently pending
in the Court of Common Pleas of Philadelphia County, to the United States District Court

for the Eastern District of Pennsylvania.

 

Case 5:17-cv-O4121-.]FL Document 1 Filed 09/14/17 Page 6 of 15

By:

/\_,…

J hn J. Hatzell .lr
H dix d Associates
PA 8548

Suite 3800 - 1650 Market St.
Philadelphia, PA 19103

215 255 6411

215 933 3207 ((faesimile)
John.Hatzell IG.com

 

Case 5:17-cv-O4121-.]FL Document 1 Filed 09/14/17 Page 7 of 15

 

 

 

 

 

 

 

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Case 5:17-cv-O4121-.]FL Document 1 Filed 09/14/17 Page 8 of 15

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By: Albort M. Greto, F..sq.
Dnvid S. Daniel, Esq.
319 W. Front Street
Media, PA 19063
Ph: (610) 891-9900; Fx: (610) 891-9996

E-Mail: algreto@gretolaw.cog
Atlorney ID 'Nos. 8065 8182777

MARK FRAWLEY

1029 Pt‘imt'ose Lanc

Coopershur~g, PA 18036
Plainti.i`f,

v’

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Broolrlyn, NY 11229
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Countryside, ]L 60525
And
GP TRANSP ORT CO.
5436 Enst Avenue
Countryside, IL 60525
Defcrtdrrnts.

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Attorneys for Plrtintiff

PHILADELPHIA COUNTY
COUR'I` OF COMMON PLEAS
TRIAL DIVISION - CIVI.L

AUGUST TERM 2017

No. Ow§(c,

CIVIL COMPLAIN'I`
PERSONAL I`NJURY - AUTOMOBI`LE ACCD)ENT
GENERAL AVERMENTS

Plaintiff, MARI( FRAWLEY, by and through iris attorneys, Aiber:t M. Greto, Esquire, and

David S. Daniel, Esquire, hereby files this Compiaint, and in support thereof states the foilowing:

1. PIaintiE, MAR.K FRAWLEY, is an adult individual residing at 1029 Primrose Lane,

Coopersbtrrg, PA 18036.

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2. Defendant, EDIKAS DU`M`PIS, is an adult individual believed to reside attire above
captioned address.

3. Defendant, GP Tmnsportation Co., Inc., is believed to be an Illinois corporation with
a principal place of business at the above captioned eddress.

4. Dcfendant, GEDIM]NAS POVILUNAS, t!a GP TRANSPORT CO., is believed to
bc an unincorporated business entity or partnership with a principal place of business attire above
captioned address

5. On or about August 7, 2015 at approximately, 3:50 p.m., Plaintiff`, MARK
FRAWLEY, was the operator of a 2005 'l`oyotrr Tundra on Levlclr Strcct at or near the intersection
ofHarbison Avenue, within in tire city and County ofPhiladolphr‘o.

6. At all times relevant lrcr'eto, defendant ED]KAS DUMPIS, was operating a motor
vehicle owned in whole or in part by defendants GP TRANSPORTATION, CO., INC., GP
TRANSPORT CO., and GEDIMI'NAS POVILUNAS, tfa GP 'I'RANSPORTATION, CO.

7. At all times relevant lrcreto, the motor vehicle accident at issue took place at or near
tire intersection with Harbisort Avenue and chick Strect, within the City and County of
Philadelplu'a.

8. At ali times relevant ltcteto, plaintiff MARK FRAWLEY, while traveling on chiclr
Strecl:, approached the intersection ofHarbisorr Avcnuc.

9. erilc plaintiff MAR_K FRAWLEY, was at the intersection, the vehicle/tractor
trailer, operated by dcfendant, EDIKAS DUMPIS and owned by dcfcndants, GP
’IRANSPORTA'I'ION, CO., INC., GP TRANSPORT CO., and GEDIMINAS POVILU'NAS, rla
GP TRANSPORTATION, CO., attempted to turn led from thc middle lane striking the back-rear
passenger side panel and tire ofthc motor vehicle operated by plaintiff`, MARK FRAWLEY.

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10. As a result of said impact, plaintiff, MARK FR.AWLEY, was thrown about the
interior of the motor vehicle he occupied, causing injuries to his neck and back.

11. As a direct and proximate result of said accident, plaintiff MARI<'. FRAWLEY, has
been obliged to receive and undergo medical attention and care to incur various expenses for the
injuries he has sutt`ered.

12. As a direct and proximate result of said accident, plaintiff MARK FRAWLEY has
been prevented hunt attending to his usual duties and hobbies and believes that he may in the
tirturc be prevented ibm attending to his usual duties and hohbies to his great loss.

13. As a direct and proximate result of said accident, plaintiff, MARK FRAWLEY, has
suffered, or may suff`er, severe loss of earnings and impairment of his earning capacity and power.

l¢l. As a direct and proximate result of said accident, plaintiff, MARK. FRAWLEY, has
suffered and may continue to suffer physical pain, disability, mental anguish and humiliation, all of
which plaintiti`, MAR.K FRAWLEY, believes and therefore avers may be permanent in naturel

COUNT I
MARK FRAWLEY v. EDIKAS D'UMPIS
(NEGLIGEN‘I' AN.|J CA.RELESS CONDUC'I`)
15. Plaintift`, MARK FRAWLEY, incorporates by reference the allegations set forth in the
paragraphs above, as though the same were fully set forth herein.
16. The above-described incident was caused by the negligence and carelessness of
Defcndant, EDIKAS DUMPIS generally and more specifically as follows:
a. Defcndant operated the vehicle in a careless or imprudent manner without
due regard for road, weather and traffic conditions then existing, in violation
of 75 Pa.C.S. §3714;
b. Defcndant operated the vehicle at a speed greater than the posted speed limit

in violation of 75 PaC.S. §3362;

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c. Defcndant operated the vehicle at a speed greater than is reasonable and
prudent under the conditions and without having regard to the actual and
potential hazards then existing in violation of'?§ Pa.C.S. §3361;
d. Defcndant operated the motor vehicle in a reckless manner in violation of ?5
Pa.C.S. §3766;
e. Defcndant failed to obey a traffic control device while operating the motor
vehicle in violation of 31 ll(a];
f. Defcndant operated the motor vehicle without due regard for the health and
safety ofPlaintlff MARK FRAWLEY;
g. Defendant failed to exercise due care under the circumstances; and
h. Defcnth violated ordinances, statutes and regulations of the
Comnronwealth of Pennsylvania with respect to the proper operation of her
motor vehicle.
i. Failed to properly signal so as to put other driver’s on notice of his intention
to turn.
j. Operated his vehicle on roads prohibited li’onr tractor trailer traffic.
WHEREFORE, plaintiff, MARK FRAWLEY, hereby requests that this Honorable Court
enter judgment in his favor and against defendant, EDIKAS DUMPIS for compensatory damages,
interest, costs, and such timber relief this Court deems appropriate in an amount in excess of
$50,000.00.
COUNT II

MABKFRAWLEY v. GP ‘I'RANSPORTATION, CO., INC., GP TR.ANSPORT CO.,
and GEDIMINAS POVILUNAS, fla GP TRANSPORTATION, CO.

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l‘?.Plaintift`, MARK FRAWLEY, incorporates by reference the allegations set forth in the
paragraphs above, as though the same were fully set forth hcrein.

18. At all times material hereto, defendants, GP TRANSPORTATION, CO., ]NC., GP
TRANSPORT CO., and GEDIM[NAS POVILUNAS, tie GP TRANSPORTATION, CO., in whole
or in part, managed, possessed, and controlled the vehicleftractor trailer, operated by defendant
ED]KAS DUMPIS and defendant EDIKAS DUMPIS was acting as the agent, servant, worlcnran,
andfor employee of defendants GP TRANSPORTATION, CO., INC., GP TRA`NSPOR.T CO., and
GEDIMINAS POV]LUNAS, tia GP TRANSPORTA'I'!ON, CO.

19. At all times material hereto, defendant, EDIKAS DUME'IS , was acting within the scope
of his authority.

WHEREFORE, plaintlti", MARK FRAWLEY, respectfully requests this Honorable Court
enter judgment in his favor and against defendants, EDIKAS DUMPIS and GP
TRANSPORTATION, CO., INC., GP TRANSPORT CO., and GEDIMINAS POVILUNAS, tia
GP 'I`RANSPORTATION, CO., jointly and severally, for compensatory damages, interest, costs,
and such other timber relief this Court deems appropriate in an amount in excess of$S0,0UU.UO.

COUNT [II

MARK FRAWLEY v. GP TRANSPORTATION, CO., INC., GP 'I`RANSPORT CO.,
and GEDIM]NAS POVILUNAS, t!a GP TRANSPORTATION, CO.

(NEGLIGENT ENTRUSTMEN T)
20. Plaintiff, MARK FRAMEY, incorporates by reference the allegations set forth in the
paragraphs above, as though the same were fully set forth herein.
21. It is believed and therefore alleged that defendants, GP 'I'RANSPORTATION, CO.,
INC., GP TRANSPORT CO., and GEDIM]`NAS POWLUNAS, tie GP TR.ANSPORTATION, CO.,
may have permitted defendant, BDIKAS DUMPIS, to operate the above-described vehicleftractor

trailer, and that defendants, GP TRANSPORTATION, CO., INC., GP 'I'RANSPORT CO., and

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GBDIMINAS POVILUNAS, t!a GP TRANSPORTATION, CO , knew or should have known that
defendant, BDIKAS DUMPIS, would operate said motor vehicle in a reeltiess, negligent, andfor
careless manner.

WHEREFORE, plaintiff, MARK FRAWLEY, respectfully requests this Honorable Court
enter judgment in his favor and against defendants, EDIKAS DUMPIS and GP
'I'RANSPORTA'IION, CO., INC., GP TRANSPOR'I` CO., and GEDIMINAS POV`.[LUNAS, tia
GP TRANSPORTATION, CO., jointly and severally, for compensatory damages, interest, costs,

and such other further relief this Court deems appropriate in an amount in excess of $50,000.00.

      
 

Respectfiilly

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David s. 'Daat , E`sQ'tuRB
Attorney for Plaintiff
Suprerne Court ID# 32777
319 W. Front Street

Media, PA 19063~2340
Ph.: 610.891.9900

Fx.: 610.891.9996

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COMMONWEAL'I'H OF PBNNS YLVANIA
COUNTY OI" DBLAWARB
VER}'_I?ICATION

I, David S. Daniel, Esquire, hereby verify that the statements contained in the foregoing
Cornplaint are true and correct to the best of my knowledge, information and belief; based upon
reasonable independent investigation and review, and client‘s electronic transmission of a
Verit`tcation upon review of the pleading. Further, the exigencies of time prevent an original from
being attached hereto. The foregoing is made with knowledge of 18 Pa.C.S. 4904 relating to

unsworn falsification to authorities.

 

 

Date: gaf/529 57

David ‘§. Daniel, Bsquire

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